  Case: 1:19-cv-00398-SJD-SKB Doc #: 1 Filed: 05/27/19 Page: 1 of 20 PAGEID #: 1



                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO


 ANDREA GOLDBLUM                                          Case No. 1:19-cv-398
 4108 Langland St., Unit 301
 Cincinnati, OH 45223,                                    Judge:

 Plaintiff,
                                                           COMPLAINT
 v.
                                                           AND
 THE UNIVERSITY OF CINCINNATI,
 2600 Clifton Avenue                                       JURY DEMAND
 Cincinnati, OH 45220,

 Defendant


                                          INTRODUCTION

1. Plaintiff Andrea Goldblum (“Goldblum”) brings this action for violation of the anti-retaliation

      provisions of Title IX and Title VII.

2. This case arises out of the decision of the University of Cincinnati (“UC”) to effectively terminate

      Goldblum’s employment as the school’s Title IX Coordinator after she raised concerns about the

      school of Arts and Sciences publishing and promoting an online article that highlighted the

      accomplishments of a registered sex offender.

                                                PARTIES

3. Goldblum was the former Title IX Coordinator at the University of Cincinnati.

         a. Goldblum is an Ohio resident with a residence at 4108 Langland St., Unit 301, Cincinnati,

              OH 45223.

         b. As the Title IX Coordinator at UC, Goldblum was responsible for overseeing an office

              that fields and investigates complaints and provides interim measures for those impacted




                                                      1
  Case: 1:19-cv-00398-SJD-SKB Doc #: 1 Filed: 05/27/19 Page: 2 of 20 PAGEID #: 2



           by sexual violence and sexual harassment. Her job duties also included raising awareness

           about the issues of sexual assault and sexual misconduct on the UC campus.

       c. The UC Title IX Office works closely with the UC Office of Equal Opportunity & Access.

4. Defendant UC is a public university created by the Ohio Legislature.

       a. UC has a principal place of business at 2600 Clifton Avenue, Cincinnati, OH 45220. Under

           Ohio Revised Code 3361.01, the University of Cincinnati’s Board of Trustees is the

           governing body of the University of Cincinnati.

       b. UC voluntarily participates in federal spending programs.

                                    JURISDICTION AND VENUE

5. This case arises under the laws of the United States, specifically Title IX of the Education

   Amendments of 1972 (Title IX), 20 U.S.C. § 1681 et seq., and Title VII of the Civil Rights Act of

   1964, 42 U.S.C.S. § 2000e et seq. Accordingly, this Court has jurisdiction in this matter pursuant

   to 28 U.S.C. §§ 1331 and 1343.

6. This Court is an appropriate venue for this cause of action pursuant to 28 U.S.C. § 1391. The

   defendant is a resident of the State in which this district is located and a substantial part of the

   events or omissions giving rise to the claim occurred in this district.

                                                 FACTS

7. This case occurs in the midst of the national #MeToo movement.

       a. The #MeToo movement is a national campaign to force institutions and businesses to

           confront widespread sexual harassment and assault. Propelled by admiration for those

           who have spoken out, fear that what happened to them could happen to others, and anger

           at how long abusers have gone unpunished, women and men have come forward to report

           instances of sexual harassment, often posting their accounts online using the popular

           hashtag.

                                                   2
  Case: 1:19-cv-00398-SJD-SKB Doc #: 1 Filed: 05/27/19 Page: 3 of 20 PAGEID #: 3



       b. In late 2017, #MeToo emerged as a trending hashtag on Twitter in the wake of movie

          producer Harvey Weinstein’s exposure as a serial sexual predator. Since then, victims of

          sexual harassment have spoken out in droves, sharing their stories about sexual

          harassment. This national conversation has only grown, implicating many men in positions

          of power, across industries.

8. The #MeToo movement has been prevalent on college and university campuses.

       a. The Chronicle of Higher Education in November 2017 wrote:

              Higher education had already had moments of confrontation with harassment, assault,
              and the cultural and structural forces that underlie them. . . . Campus officials have
              struggled to determine how to punish abusive employees — and how to avoid simply
              passing them on to other universities. Scholarly societies have taken a more vigilant
              approach to conferences that have long been seen as incubators for misconduct. But
              the new wave of revelations and accusations has raised the stakes, and the fury the
              #MeToo movement has tapped into could have a longstanding impact on higher
              education.

       b. USA Today in January 2018 wrote:

              Since August, allegations against a small group of high-profile academics and education
              officials have forced them to step down, in some cases reversing long-standing
              customs in which universities downplayed such misbehavior, victims' advocates say.

9. The #MeToo movement has been prevalent on the UC Campus.

       a. In February 2018, the UC President stated, in a letter to the “UC Community” that he was

          aware of the impact of the #MeToo movement at UC and called upon “each of us to

          speak up and step up to make our campus safer and treat all members of our community

          with dignity and respect.” He wrote:

                  In recent months, the #MeToo movement has grimly and justifiably reminded us
                  that no workplace, no professional field, no learning environment and no
                  community is immune to sexual assault, sexual harassment and sexual misconduct.
                  That includes the University of Cincinnati.

       b. In August 2108, an opinion piece in the school newspaper lauded the hiring of Goldblum

          because of her experience in supporting victims of sexual harassment and sexual assault.

                                                 3
  Case: 1:19-cv-00398-SJD-SKB Doc #: 1 Filed: 05/27/19 Page: 4 of 20 PAGEID #: 4



            The article noted the importance of this experience in the #MeToo era. The author wrote,

            “Considering recent events surrounding the #MeToo movement, I think now is a good

            time to evaluate UC’s track record of handling Title IX situations.”

10. UC has various policies that prohibit sexual harassment and other sexual misconduct on campus.

    These policies were adopted and implemented as part of UC’s efforts to comply with its

    obligations under Title IX.

11. UC policies prohibit, inter alia, sexual harassment and retaliation.

12. In particular, UC has pledged to take immediate action to end a hostile environment if one has

    been created, prevent its recurrence, and remedy the effects of any hostile environment on affected

    members of the campus community.

        a. The UC Policy on Discriminatory Harassment (Policy 11-02) recognizes a responsibility

            on the part of UC employees “to provide a non-discriminatory and non-hostile

            environment for employees, for students, and for others it serves…” The policy further

            defines Discriminatory Harassment as “conduct that has the purpose or foreseeable effect

            of unreasonably interfering with an identifiable individual’s work or academic performance

            or of creating an intimidating, hostile, or offensive work or learning environment for that

            individual.”

        b. The UC Policy on Sexual Harassment (Policy 11-03) prohibits both sexual harassment and

            retaliation “against anyone making a complaint of discrimination, including a complaint of

            sexual harassment…”

        c. As Title IX coordinator, Goldblum was responsible for the day-to-day application and

            review of university policies and practices as it relates to Title IX, Title VII and other Equal

            Opportunity laws at both the state and federal levels. Goldblum was also responsible to




                                                     4
  Case: 1:19-cv-00398-SJD-SKB Doc #: 1 Filed: 05/27/19 Page: 5 of 20 PAGEID #: 5



           for coordination of response, prevention and education initiatives pursuant to Title IX

           and related statutes.

13. Goldblum had over 30 years of experience in higher education. previously served as the Title IX

   coordinator at Kenyon College, University of the Pacific and The Ohio State University.

14. Goldblum was hired by UC as the UC Title IX Coordinator in June 2018. Her official title was

   Executive Director, Gender Equity & Inclusion.

       a. The initial term of employment to was through the end of the 2018-2019 school term.

           Goldblum expected that the term would be renewed for additional school years.

       b. Prior to hiring Goldblum, UC had conducted a long and extensive search for a Title IX

           Coordinator. Previous Title IX coordinators had been named in Federal Civil Rights

           lawsuits in this Court and in other federal courts. For example, in Doe v. University of

           Cincinnati, 223 F. Supp. 3d 704 (S.D. Ohio 2016), aff'd 873 F.3d 393 (6th Cir. 2017), this

           Court granted a preliminary injunction prohibiting the UC Title IX coordinator and other

           administrators from suspending a student who had alleged that the school had acted in

           violation of his constitutional due process right to confront adverse witnesses. Another

           former Title IX Director was named as a defendant in a federal lawsuit in the District of

           Montana, Powell v. Montana State Univ., et al., D. Montana No. CV17-15.

15. Goldblum was responsible for day to day applications and review of UC’s policies and practices

   related to Title IX, Title VII, and other equal opportunity initiatives pursuant to Title IX. She was

   also responsible for oversight of compliance with Title IX by UC and for providing support and

   resources to students who were affected by potential violations of Title IX.

       a. As part of her duties regarding Title IX, Goldblum was charged with coordinating

           responses to Title IX issues and laws including response to reported incidents and to

           investigate complaints regarding Title IX incidents.

                                                  5
  Case: 1:19-cv-00398-SJD-SKB Doc #: 1 Filed: 05/27/19 Page: 6 of 20 PAGEID #: 6



       b. As part of her duties, Goldblum was tasked with providing recommendations to ensure

          the safety of those reporting violations as well as the school community.

       c. As part of her duties, Goldblum was required to provide consultation strategy, and

          communications to senior management, including her direct supervisor, Dr. Bleuzette

          Marshall, (“Dr. Marshall”), as to issues and responses to them falling within her job

          description.

       d. As part of her duties, Goldblum also was charged with collaborating with university

          divisions to develop and facilitate safety and advocacy programs for the students at the

          university related to her position.

16. When she was hired, Goldblum told the student newspaper that she was committed to raising

   awareness about the issues within the Title IX office. Goldblum said, “We share everything from

   what the policies are and how to report, to how to work with people who have been traumatized

   and how to support respondents or those who have been accused of something.”

THE WILLIAM HOUSTON MATTER

17. William Houston was a student at UC.

       a. Houston was a former Bowling Green State University football player who was convicted

          of gross sexual imposition in an Ohio court.

       b. Houston had originally been indicted on one count of attempted rape. He was convicted

          after he entered a no contest plea as part of a plea bargain. The charges against Houston

          arose from a July 20, 2014, incident. Houston, a sophomore at the time, allegedly got on

          top of his female victim in her bed, touched her inappropriately, took her hand to touch

          his genitals, and kissed her.




                                                6
  Case: 1:19-cv-00398-SJD-SKB Doc #: 1 Filed: 05/27/19 Page: 7 of 20 PAGEID #: 7



       c. Houston was suspended by Bowling Green State University following an investigation and

           hearing under the university's code of student conduct. He was found responsible for

           “sexual contact without permission.”

18. In January 2019, the UC College of Arts and Sciences published on online article highlighting UC

   “students who show the passion and drive to complete their degree despite facing… roller-coaster

   challenges.”

       a. Houston was profiled in the article as one of the students honored with a “triumph cord”

           at graduation. According to the article,

               These slender purple cords showcase the level of adversity the students have gone
               through and signal that they have overcome it. [UC] celebrates all of its graduates but
               reserves this distinction for students whose stories show how overcoming major
               challenges can lead to triumph.

       b. The              article           is           currently            available            at

           https://www.uc.edu/news/articles/2019/01/n2060727.html, but the references to

           Houston have been delated. Instead, an editorial note from the Dean states, “Out of

           sensitivity to members of our community, the original information in this article has been

           modified.”

       c. The Article did not indicate the specifics of the “immaturity” or “challenges” faced by

           Houston. However, students at UC soon discovered that Houston was a convicted sex

           offender and that he had been suspended from Bowling Green State University for sexual

           misconduct.

19. Many students at UC, including survivors of sexual assault, responded negatively to the article.

   These students indicated that they did not feel safe on campus and were traumatized to learn that

   a sex offender had been living and studying amongst them without their knowledge.




                                                  7
  Case: 1:19-cv-00398-SJD-SKB Doc #: 1 Filed: 05/27/19 Page: 8 of 20 PAGEID #: 8



20. Houston, and the article in which he was featured, was promoted on the UC Arts and Sciences

   Twitter page: https://twitter.com/UC_ArtSci/status/1092806055996911616. The Tweet is set

   forth here:




       a. Replies to the tweet were very critical of UC, including:

                 •   “#NextLivesHere #RapeCultureLivesHere #RapistsAreSafeHere

                 •   “No offense but what the fuck”

       b. Some of the replies suggested that UC did not take the issue of sexual assault on campus

           seriously. These replies included,




                                                 8
  Case: 1:19-cv-00398-SJD-SKB Doc #: 1 Filed: 05/27/19 Page: 9 of 20 PAGEID #: 9



              •   “You have tweeted multiple times since this event. Just admit UC as a whole hates
                  women and GO

              •   @UC_ArtSci_Dean soooo are you going to delete this yet or are you going to
                  continue to support rapists?

              •   Good to know our local college is out here supporting rapists. #boycottUC… And
                  this is NOT THE FIRST TIME UC HAS DONE THIS

21. Houston, and the article in which he was featured, was promoted on the UC Arts and Sciences

   Facebook                                                                                    page:

   https://www.facebook.com/UCArtSci/photos/a.478281874499/10156947490844500.                   The

   Facebook Post included a picture of Houston. It is set forth here:




       a. Replies to the post were very critical of UC, including:

              •   Celebrating someone who caused harm to someone else for the rest of that
                  person's life is pretty disgusting UC. How about this, give his victim free tuition
                  since you want to highlight a sexual offender's successes.

              •   I am genuinely astonished and disappointed in UC, A&S, and the Comm Dept for
                  not removing this post, rescinding the award, and issuing a public apology

              •   absolutely disappointed to be a part of this university that would support a man
                  like this. BARF

                                                 9
Case: 1:19-cv-00398-SJD-SKB Doc #: 1 Filed: 05/27/19 Page: 10 of 20 PAGEID #: 10




       b. Some of the replies suggested that UC did not take the issue of sexual assault on campus

          seriously. These replies included:

              •   Here we have rape culture where perps aren’t ashamed while survivors are
                  CONSTANTLY victim blamed and shamed for being assaulted.

              •   Somebody in Arts and Sciences is getting fired. UC already has a horrible
                  reputation in this area.

              •   Confidential Resources for Survivors at UC are available from Women Helping
                  Women… Please reach out for support. There are people in our community who
                  want to help you. You are not alone. College of Arts & Sciences, University of
                  Cincinnati PLEASE pin this comment so these resources can be immediately
                  available to those who view this post.

              •   Applauding sexual predators is a slap in the face to student survivors. This post
                  should be removed.

              •   The whole city already jokes about UC parties being where girls go to get raped.
                  At least y'all at the administration are admitting you know this is happening. Thank
                  you for publicly taking a side.

              •   how many people would I have to rape, theoretically, to get an award from you
                  University of Cincinnati??

              •   Why the hell are you honoring a registered sex offender? UC is huge into rape
                  culture it seems...

       c. The UC Director of Public Relations commented on the Facebook page that the materials

          would remain available “for transparency.” He wrote:

              As an educational institution, we are currently leaving the item in place as it provides
              transparency around events and what has occurred here. The sum total of online
              materials -- the old 2015 materials up in northern Ohio that brought these issues to
              light and the new -- provides important transparency and as complete an account as is
              now available.

GOLDBLUM FACES RETALIATION FOR ATTEMPTING TO RESPOND TO THE
HOUSTON MATTER

22. On or about February 5, 2019, Goldblum became aware of the complaints and comments about

   the Houston article. Goldblum heard from a number of students who suggested that UC


                                                10
Case: 1:19-cv-00398-SJD-SKB Doc #: 1 Filed: 05/27/19 Page: 11 of 20 PAGEID #: 11



   promoting Houston and giving him an award contributed to a hostile learning environment and

   atmosphere.

      a. Goldblum believed she was obligated to respond to those who were unidentified by

          posting a letter in the school newspaper listing resources and offering help for the students.

          She believed that UC had an obligation under Title IX to acknowledge that the students

          who were traumatized by the Houston article and awards had been heard by the UC

          Administration.

      b. Goldblum, in her role as Title IX coordinator, was concerned that the promotion of

          Houston was a practice that fostered the creation of a sexually hostile environment and

          made female UC students vulnerable to sexual assault.

      c. Goldblum, in her role as the Title X Coordinator, reviewed the available information from

          Bowling Green and police reports. Goldblum became concerned for the disregard by UC

          administrators for the safety of the UC community when she learned that there may have

          been as many as eleven victims.

      d. Goldblum, in her role as Title IX Coordinator, was concerned that the publication and

          promotion of the Article violated the UC Policy against Discriminatory Harassment

          because it had the foreseeable effect of unreasonably interfering with students’ work or

          academic performance or of creating an intimidating, hostile, or offensive work or learning

          environment. Goldblum, in forming these concerns, was aware that the UC Policy on

          Discriminatory Harassment did not require the consequences actually occur, but only the

          consequences were foreseeable.

23. On or about February 5, 2019, Goldblum spoke with Dr. Marshall and the UC Director of

   Communications. Goldblum told Dr. Marshall and the Director of Communications that UC




                                                 11
Case: 1:19-cv-00398-SJD-SKB Doc #: 1 Filed: 05/27/19 Page: 12 of 20 PAGEID #: 12



    could be in violation of Title IX if resources were not specifically offered to students who may

    have negative responses to UC giving an award to a convicted sex offender.

        a. Goldblum shared he belief that UC may have created a hostile environment in violation

            of Title IX because giving an award to a convicted sex offender could deny or limit the

            ability of some students to participate in or benefit from UC’s programs or activities.

        b. In particular, Goldblum communicated that she was concerned that UC’s actions could

            create a hostile environment in violation of Title IX if students who are survivors of sexual

            assault were triggered by UC giving an award to a convicted sex offender. UC, in her view,

            was required to provide adequate resources to these students and was failing to do so.

24. Goldblum was advised by Dr. Marshall, that the matter “was being considered” and that “a

    response would be forthcoming.” Goldblum was also advised that she would be contacted by a

    dean of the university regarding how to handle the matter.

25. No further response was provided. Goldblum was not provided with guidance about how to

    respond to students expressing concerns or seeking resources.

26. Goldblum attempted to speak to UC’s legal department about the Houston Matter and potential

    obligations of the school under Title IX. She received no response.

27. Goldblum, in order to fulfill her obligations as part of her job description and to comply with legal

    obligations, drafted a letter addressing the students who had complained and listing possible

    resources.

28. A draft of this letter was provided to Dr. Marshall. Dr. Marshall advised that the letter was deemed

    to be unsatisfactory and not to send the letter. Goldblum later revised the letter.

29. Despite repeated requests, Dr. Marshall provided no further response on the Houston matter.




                                                   12
Case: 1:19-cv-00398-SJD-SKB Doc #: 1 Filed: 05/27/19 Page: 13 of 20 PAGEID #: 13



30. On February 11, 2019, the student newspaper ran an article stating UC “is facing backlash for not

   removing an article on its website that highlights a recent graduate who was charged with a sex

   crime in 2014.” The article noted that many students expressed concern about UC actions:

       Several commenters voiced contempt for the article and questioned the post’s suggestion that
       sexual assault equates to immaturity. One student said she planned to discuss the matter with
       A&S department heads and the dean.

31. On February 12, 2019, Goldblum advised Dr. Marshall that she was going to send the letter to the

   student newspaper. Goldblum believed that, despite the previous instruction not to send the

   letter, she was required to do so in order to fulfill her role as Title IX Coordinator and to assure

   that UC provided adequate resources to those possibly affected by the Houston Matter.

32. Goldblum waited for a response from Dr. Marshall until after 5:00 p.m. When no objection was

   received, Goldblum sent the letter via email to the student newspaper.

33. The letter was never published.

34. Dr. Marshall subsequently contacted Goldblum. Dr. Marshall was angry that Goldblum had sent

   the letter and advised that she was “getting blamed” for Goldblum’s actions. However, Dr.

   Marshall did not state that the letter was an appropriate response to the obligations of UC under

   Title IX.

35. Goldblum was advised not to “ever do anything like that again.” Goldblum agreed and believed

   that the matter concerning the letter had been resolved.

36. Goldblum’s letter was never published, either online or in print by the student newspaper. No

   explanation has been given about why the letter was not published.

37. On February 15, 2109, the UC student newspaper ran another article about the Houston

   controversy.

       a. The article noted that a portion of the original article had been redacted by UC “After

           facing backlash on social media…” The article included claims by UC that “faculty

                                                 13
Case: 1:19-cv-00398-SJD-SKB Doc #: 1 Filed: 05/27/19 Page: 14 of 20 PAGEID #: 14



           nominators, student writer and editor were all unaware of Houston’s criminal history

           before the piece was published,”

       b. The article states that UC had changed in position about the article:

                Despite facing backlash on Facebook and Twitter, the university initially declined to
                alter the article. University spokesperson M.B. Reilly said Monday that the article
                would not be changed, citing transparency. Days later, Houston’s profile was removed
                from the story, and an editor’s note was issued.

38. Goldblum, in her role as a Title IX Coordinator, started an informal investigation into the

   admission of Houston. Goldblum was particularly interested in determining whether any UC

   personnel had knowledge that Houston was a convicted sex offender either prior to his admission

   or prior to his receipt of an award. Goldblum was conducting an initial inquiry into whether his

   admission or presence on campus with minimal restrictions and without informing the student

   body violated any of the UC Title IX policies.

39. On or about March 15, 2019, Goldblum was called into a meeting in Dr. Marshall’s office. A

   representative from HR and a police officer were present.

40. Goldblum was told that since she had sent the letter to student newspaper, she was insubordinate

   and would be terminated.

41. As a result of her initial inquiries, Goldblum learned that admissions staff and the Assistant Dean

   of Students, Daniel Cummins, were aware of Houston’s background prior to his admission.

   Goldblum also learned that the UC Police were aware of Houston’s background shortly after his

   admission.

42. The claim of insubordination was pre-textual.

       a. The UC Office of Equity & Inclusion is required by the UC Discriminatory Harassment

           Policy to conduct an investigation. The policy states that the Office “shall conduct a

           thorough investigation.”



                                                  14
Case: 1:19-cv-00398-SJD-SKB Doc #: 1 Filed: 05/27/19 Page: 15 of 20 PAGEID #: 15



       b. Goldblum’s investigation, at a minimum, threatened to cause significant embarrassment

           to UC and various UC administrators.

       c. Goldblum’s investigation threatened to expose misconduct by UC personnel.                 For

           example, Goldblum was considering whether the Assistant Dean of Students or

           Admissions officials did not make the mandatory reports of potential sexual misconduct

           required by various UC policies.

43. In other circumstances, UC claims that it is committed to upholding free speech and First

   Amendment principles. For example, the University Policy on Discriminatory Harassment (Policy

   11-02) provides:

       Because the university is committed to free speech and academic freedom, it believes the best
       remedy for racist, sexist, and other forms of destructive speech is its justifiable condemnation
       by the entire university community. The university is dedicated to using its full resources as an
       educational institution to combat intolerance, and urges each member of the community to
       assist in the struggle to achieve an institutional environment that is free of all vestiges of
       discrimination.

   Expressing views on matters of sexual assault on campus and offering support through media and

   the student newspaper is precisely within the expectations of Goldblum’s job as Title IX

   coordinator and also consistent with the UC policies promoting free speech and First Amendment

   principles.

44. Goldblum chose to resign.

45. Goldblum’s resignation was the equivalent of a termination or a constructive discharge.

       a. Goldblum’s only alternative to resigning was termination. Although resignation spared

           Goldblum some professional embarrassment, the decision was not voluntary. Goldblum

           was advised that if she resigned, UC would not provide a negative job reference and would

           list her as having resigned. She was told that if she refused, she would be fired.




                                                  15
Case: 1:19-cv-00398-SJD-SKB Doc #: 1 Filed: 05/27/19 Page: 16 of 20 PAGEID #: 16



       b. Goldblum was not provided with an alternative to resignation that would have allowed

           her to remain in her position.   Dr. Marshall said, “you broke trust and I can’t work with

           you… resign or be terminated.”

       c. Goldblum understood the nature of the choice she was given; the presence of an HR

           official and a police officer led Goldblum to conclude that the decision had been made

           and was not going to be changed. She also recognized that, given the high-profile nature

           of her position on campus, her termination would likely be imminent and receive media

           attention.

       d. Goldblum was not given a reasonable time in which to choose; Dr. Marshall expected an

           immediate response and Goldblum did not have the opportunity to consult with counsel

           prior to making a decision.

       e. Goldblum was not permitted to select the effective date of resignation. Instead, she was

           immediately denied access to her computer, email, and other resources.

46. Goldblum was escorted to her vehicle and then directly off campus. She had to surrender her ID

   card, keys, parking pass, and university credit card to the officer. Goldblum had to make two

   special trips after hours with police escort to obtain her personal items from her office.

47. Goldblum was not allowed access to the computer, despite having personal items stored on it.

   Goldblum was also not provided with access to emails and other correspondence concerning the

   Houston Matter.

48. Goldblum, in her role as Title IX Coordinator, had a reasonable good faith belief that the actions

   of UC in promoting Houston violated Title IX and UC policies by fostering the creation of a

   hostile environment that made female UC students vulnerable to sexual assault. Goldblum was

   terminated, on information and belief, to prevent her from conducting an adequate investigation

   to determine the merits or validity of her belief.

                                                  16
Case: 1:19-cv-00398-SJD-SKB Doc #: 1 Filed: 05/27/19 Page: 17 of 20 PAGEID #: 17



49. As a direct and foreseeable result of the UC’s conduct, Goldblum has sustained, and will continue

    to sustain, substantial injury, damage, and loss, including, but not limited to: mental anguish; severe

    emotional distress; injury to reputation; past and future economic loss; deprivations of due

    process; and loss of future career prospects.

                                      COUNT I
                        (VIOLATION OF TITLE IX – RETALIATION)

50. Plaintiff repeats and incorporates all the allegations of this Complaint, as if fully set forth herein.

51. Title IX provides that “[n]o person in the United States shall, on the basis of sex, be excluded

    from participation in, be denied the benefits of, or be subjected to discrimination under any

    education program or activity receiving Federal financial assistance.” 20 U.S.C. § 1681(a).

52. Retaliation against a person because that person has complained of sex discrimination is a form

    of intentional sex discrimination encompassed by Title IX's private cause of action. When a

    funding recipient retaliates against a person because the person complains of sexual discrimination,

    this constitutes intentional discrimination on the basis of sex in violation of Title IX.

53. Goldblum engaged in protected activity by complaining about, investigating, and reporting

    potential violations of Title IX by UC in connection with the Houston matter.

        a. Goldblum told her supervisor and a responsible administrator at UC that UC could be in

            violation of Title IX if resources were not specifically offered to students who may have

            negative responses to UC giving an award to a convicted sex offender.

        b. Goldblum sent a letter to the student newspaper addressing the matter.

        c. Goldblum, in her role as a Title IX Coordinator, started an informal investigation into the

            Houston matter.

54. Goldblum’s exercise of that protected activity was known to UC administrators.




                                                    17
Case: 1:19-cv-00398-SJD-SKB Doc #: 1 Filed: 05/27/19 Page: 18 of 20 PAGEID #: 18



55. Goldblum was subjected to an adverse employment action subsequent to or contemporaneous

    with the protected activity. In particular, Goldblum was forced to resign immediately under threat

    of termination.

56. The adverse action against Goldblum was directly related to her in investigation and reporting of

    possible violations of Title IX by UC and was deigned to punish and intimidate Goldblum from

    publicly disclosing potential misconduct by UC officials.

57. As a direct and proximate result of UC’s violations of Goldblum’s rights under Title IX, Goldblum

    has suffered severe and substantial damages. These damages include diminished earnings capacity,

    lost career and business opportunities, litigation expenses including attorney fees, loss of

    reputation, humiliation, embarrassment, inconvenience, mental and emotional anguish and

    distress and other compensatory damages, in an amount to be determined by a jury and the Court.

58. UC is liable to Goldblum for her damages.

59. Pursuant to 42 U.S.C. §1988, Goldblum is entitled to her attorney’s fees incurred in bringing this

    action.

                                      COUNT II
                        (VIOLATION OF TITLE VII – RETALIATION)

60. Plaintiff repeats and incorporates all the allegations of this Complaint, as if fully set forth herein.

61. Title VII makes it unlawful for an employer to discriminate against any individual with respect to

    his compensation, terms, conditions, or privileges of employment because of such individual's

    race, color, religion, sex, or national origin. 42 U.S.C. 2000e-2(a)(1).

62. Title VII prohibits an employer from retaliating against an employee for opposing “any practice

    made an unlawful employment practice by [Title VII], or because [the employee] has made a

    charge, testified, assisted, or participated in any manner in an investigation, proceeding, or hearing

    under [Title VII]." 42 U.S.C. § 2000e-3(a).



                                                    18
Case: 1:19-cv-00398-SJD-SKB Doc #: 1 Filed: 05/27/19 Page: 19 of 20 PAGEID #: 19



63. Goldblum engaged in protected activity by complaining about, investigating and reporting

   potential violations of UC’s non-discrimination policies in connection with the Houston matter.

       a. Goldblum told her supervisor and a responsible administrator at UC that UC could be in

           violation of UC’s non-discrimination policies if resources were not specifically offered to

           students who may have negative responses to UC giving an award to a convicted sex

           offender.

       b. Goldblum sent a letter to the student newspaper addressing the matter.

       c. Goldblum, in her role as a Title IX Coordinator, started an informal investigation into the

           Houston matter.

64. Goldblum’s exercise of that protected activity was known to UC administrators.

65. Goldblum was subjected to an adverse employment action subsequent to or contemporaneous

   with the protected activity. In particular, Goldblum was forced to resign immediately under threat

   of termination.

66. The adverse action against Goldblum was directly related to her in investigation and reporting of

   possible violations of UC’s non-discrimination policies and was deigned to punish and intimidate

   Goldblum from publicly disclosing potential misconduct by UC officials.

67. Goldblum reported the alleged violations by UC outlined in the Complaint to the EEOC. On

   May 8, 2019, the EEOC closed its filed and issued a “Right to Sue” letter to Goldblum.

68. As a direct and proximate result of UC’s violations of Goldblum’s rights under Title VII,

   Goldblum has suffered severe and substantial damages. These damages include diminished

   earnings capacity, lost career and business opportunities, litigation expenses including attorney

   fees, loss of reputation, humiliation, embarrassment, inconvenience, mental and emotional

   anguish and distress and other compensatory damages, in an amount to be determined by a jury

   and the Court.

                                                 19
Case: 1:19-cv-00398-SJD-SKB Doc #: 1 Filed: 05/27/19 Page: 20 of 20 PAGEID #: 20



69. UC is liable to Goldblum for her damages.

70. Pursuant to 42 U.S.C. §1988, Goldblum is entitled to her attorney’s fees incurred in bringing this

   action.

Wherefore, Plaintiff seeks the following relief from the Court:

   •   Judgment in favor of Goldblum awarding damages in an amount to be determined at trial;
   •   Court costs and other reasonable expenses incurred in maintaining this action, including
       reasonable attorney’s fees as authorized by 42 U.S.C. §1988.

                                          JURY DEMAND

       Plaintiff hereby demands a trial by jury of all issues so triable.


                                                         Respectfully submitted,

                                                                /s/ Joshua A. Engel
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